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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

                                      §
UMG RECORDINGS, INC., et al.,         §
                                      §
      Plaintiffs,                     §
                                          Civil Action No. 1:17-cv-00365-DAE
                                      §
vs.                                   §
                                      §
GRANDE COMMUNICATIONS                 §
NETWORKS LLC,                         §
                                      §
      Defendant.                      §

 PLAINTIFFS’ STATEMENT REGARDING TRIAL EVIDENCE ABOUT ELIGIBILITY
     FOR STATUTORY DAMAGES UNDER 17 U.S.C. § 412 AND MOTION FOR
             JUDGMENT AS A MATTER OF LAW ON THAT ISSUE
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         Plaintiffs have introduced conclusive and unrebutted evidence that 1,409 of their sound

recordings are eligible for statutory damages in this action. Given the absence of any factual

dispute on this issue, Plaintiffs submit the eligibility of their recordings for statutory damages is a

question of law that should be resolved by the Court pursuant to FRCP 50(a). Further, submitting

this question to the jury would be both cumbersome and confusing.

         A plaintiff can recover statutory damages if (1) a work was first infringed after the effective

date of registration, or (2) a work was infringed after first publication but before registration, so

long as registration occurred within three months of publication. See 17 U.S.C. § 412.

         For each work, Plaintiffs introduced—through fact witnesses for each record company—a

copy of the copyright registration certificate or a printout from the Copyright Office website

showing the relevant copyright publication and registration dates, as well as summary exhibits

reflecting the same. 1 Further, through their expert witness, Dr. Robert Bardwell, Plaintiffs

introduced the date ranges of infringement, and in particular the first infringement, for each

infringed recording, based on the 1.35 million Rightscorp notices at issue. 2 All of that evidence

went unrebutted. Plaintiffs attach as Exhibit A a chart combining the relevant date information

introduced into evidence, demonstrating that 1,409 recordings qualify for statutory damages.

         These undisputed facts are what they are, and eligibility follows as a matter of law. To

avoid unnecessary disputes, Plaintiffs will not seek statutory damages for 13 works (which are also

identified in Exhibit A, and which are not included among the 1,409 works discussed above).

Accordingly, the Court can and should resolve this issue without submitting it to the jury.



1
  See PX 19-24; Oct. 12, 2022 Trial Tr. at 175:11-178:3 (Sony Music Entertainment’s Wade Leak); Oct. 20, 2022
Trial Tr. at 75:7-77:9 (Warner Music Group’s Tracie Parry); Oct. 25, 2022 Trial Tr. at 81:16-83:19 (Universal Music
Group’s Alasdair McMullan). It is well established that the dates listed in registration certificates are presumed to be
true. See, e.g., MidlevelU, Inc. v. ACI Info. Grp., 989 F.3d 1205, 1219 (11th Cir. 2021) (citing United Fabrics Int'l,
Inc. v. C&J Wear, Inc., 630 F.3d 1255, 1258 (9th Cir. 2011)).
2
  See PX 459; Oct. 25, 2022 Trial Tr. at 62:13-25, 66:7-14 (Bardwell).
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Dated: October 31, 2022            Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on October 31, 2022 all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                           /s/ Paige A. Amstutz
                                           Paige A. Amstutz
